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   Conditional Transfer Order (CTO 101) MDL 2804

               Robert T Pitts <Robert_T_Pitts@ohnd.uscourts.gov> on behalf of OHNDdb_M
     RP
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               InterDistrictTransfer_GAMD; LAMDml_InterdistrictTransfer; InterDistri+4 more



               2804 Certified CTO 101.…
               88 KB

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   Greetings

   Attached is a certified copy of the Transfer Order from the Judicial Panel on Multidistrict Litigation
   directing the transfer of actions listed to the Northern District of Ohio.

   When the case has been closed in your district please:

   1. Initiate the civil case transfer functionality in CM/ECF.
   2. Choose court Ohio Northern.

   After completion of this process the NEF screen will display the following message:

    Sending email to InterdistrictTransfer OHND@ohnd.uscourts.gov

    If this is not displayed, we have not received notice.

    We will initiate the procedure to retrieve the transferred case upon receipt of the email.

   (See attached file: 2804 Certified CTO 101.pdf)




https://outlook.office365.com/owa/webequip@lamd.uscourts.gov/?ItemID=AAMkADhhY... 7/10/2019
